
655 S.E.2d 838 (2007)
Cobey Wade LAKEMPER
v.
Theodis BECK, Commissioner of Corrections.
No. 86P07.
Supreme Court of North Carolina.
December 6, 2007.
Cobey Wade Lakemper, Pro Se.
Robert Montgomery, Special Deputy Attorney General, for Beck.

ORDER
Upon consideration of the petition filed by Defendant on the 5th day of February 2007 in this matter for a writ of certiorari to review the order of the Superior Court, Stokes County, the following order was entered and is hereby certified to the Superior Court of that County:
"Denied by order of the Court in conference, this the 6th day of December 2007."
